Case 2:23-mc-51767-TGB-APP ECF No. 1-3, PageID.28 Filed 12/27/23 Page 1 of 2




         EXHIBIT B
  Case 2:23-mc-51767-TGB-APP ECF No. 1-3, PageID.29 Filed 12/27/23 Page 2 of 2



VERIFIED RETURN OF SERVICE                                                                                      Job # T233872

Client Info:
HUSCH BLACKWELL LLP
8001 Forsyth Boulevard
Suite 1500
Saint Louis, MO 63105

Case Info:
CLAIMANT:                                                                                 AMERICAN ARBITRATION ASSOCIATION
AMERICAN INCOME LIFE INSURANCE COMPANY                                                                 Court Date: 11/20/2023
 -versus-                                                                                                County of Leon, Florida
RESPONDENT:                                                                                    Court Case # 01-23-0002-6899
VALENTINO KALAJ; ET AL.
Service Info:

Received by MARY GREEN: on November, 9th 2023 at 01:56 PM
Service: I Served FFL Onyx, LLC ZenBusiness, Inc., as its registered agent
With: SUBPOENA TO PRODUCE DOCUMENTS; EXHIBIT A
by leaving with SADE BRYANT, BUSINESS SERVICE COORDINATOR

At Business 336 E. COLLEGE AVE. SUITE 301 TALLAHASSEE, FL 32301
On 11/10/2023 at 01:20 PM
Manner of Service: CORPORATE LLC
PURSUANT TO F.S. Ch. 48 & 49 and 608.463

I MARY GREEN acknowledge that I am 18 years or older, authorized to serve process, in good standing in the jurisdiction wherein
the process was served, and I have no interest in the above action. Under penalties of perjury, I declare that I have read the
foregoing document and that the facts stated in it are true.




                                                                      MARY GREEN
                                                                      Lic # 243

                                                                      ACCURATE SERVE OF TALLAHASSEE
                                                                      400 CAPITAL CIRCLE SE STE 18291
                                                                      Tallahassee, FL 32301
                                                                      Phone: (850) 519-5494

                                                                      Our Job # T233872




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